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                                                                  JUDGE RICHARD A. JONES
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 6                                 UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                    )   NO. CR20-103RAJ
                                                  )
10                   Plaintiff,                   )   ORDER GRANTING UNOPPOSED
                                                  )   MOTION TO CONTINUE TRIAL DATE
11             vs.                                )   AND PRETRIAL MOTIONS DEADLINE
                                                  )
12   ANDRAEES L. HENDERSON,                       )
                                                  )
13                   Defendant.                   )
                                                  )
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           THIS MATTER having come before the Court on defendant’s unopposed
15   motion for a continuance of the trial and the pretrial motions due date, and the Court
16   having considered the facts set forth in the motion, the speedy trial waiver executed by
17   defendant, and the records and files herein, the Court finds as follows:
18         The Court finds that the ends of justice will be served by ordering a continuance
19   in this case, that a continuance is necessary to ensure adequate time for effective case

20   preparation, and that these factors outweigh the best interests of the public and
     defendant in a speedy trial.
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           1. A failure to grant the continuance would deny defense counsel the reasonable
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     time necessary for effective preparation, taking into account the exercise of due
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     diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the failure
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26     ORDER GRANTING UNOPPOSED                                  FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL DATE                                1601 Fifth Avenue, Suite 700
       AND PRETRIAL MOTIONS DEADLINE - 1                              Seattle, Washington 98101
       (Andraees Henderson; CR20-103RAJ)                                         (206) 553-1100
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     to grant a continuance in the proceeding would likely result in a miscarriage of justice,
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     within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).
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           2. The ends of justice will be served by ordering a continuance in this case, as a
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     continuance is necessary to ensure adequate time for the defense to effectively prepare
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     for trial. All of these factors outweigh the best interests of the public and defendant in
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     a more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).
 6         IT IS THEREFORE ORDERED that defendant’s Unopposed Motion to
 7   Continue Trial Date and Pretrial Motions Deadline (Dkt. #17) is GRANTED. The
 8   trial date shall be continued from October 13, 2020, to January 19, 2021. All pretrial
 9   motions, including motions in limine, shall be filed no later than December 3, 2020.
10         IT IS FURTHER ORDERED that the resulting period of delay from the date of

11   this order to the new trial date of January 19, 2021, is hereby excluded for speedy trial

12   purposes under 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).

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            DATED this 25th day of September, 2020.
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16
                                                       A
                                                       The Honorable Richard A. Jones
17                                                     United States District Judge
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26     ORDER GRANTING UNOPPOSED                                   FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL DATE                                 1601 Fifth Avenue, Suite 700
       AND PRETRIAL MOTIONS DEADLINE - 2                               Seattle, Washington 98101
       (Andraees Henderson; CR20-103RAJ)                                          (206) 553-1100
